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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                          )
 In re:                                                   )   Chapter 11
                                                          )
 ALTERA INFRASTRUCTURE PROJECT                            )   Case No. 22-90129 (MI)
 SERVICES LLC,                                            )
                                                          )   (Formerly Jointly Administered
                           Reorganized Debtors.           )   Under Lead Case: Altera
                                                          )   Infrastructure L.P.,
                                                          )   22-90130)

          CERTIFICATE OF NO OBJECTION TO THE FINAL APPLICATION OF
            ALIXPARTNERS, LLP, FINANCIAL ADVISOR TO THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS, FOR ALLOWANCE
           OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
             AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE
            PERIOD FROM AUGUST 29, 2022 THROUGH NOVEMBER 3, 2022
                    (Related Docket No. 677, Case No. 22-90130 (MI))

          The undersigned hereby certifies as follows:

          1.       On January 10, 2023, the Final Application Of AlixPartners, LLP, Financial

Advisor To The Official Committee Of Unsecured Creditors, For Allowance Of Compensation For

Professional Services Rendered And Reimbursement Of Expenses Incurred For The Period From

August 29, 2022 Through November 3, 2022 [Docket No. 677] (the “Application”) was filed with

the Court in the former lead case: Case No. 22-90130 (MI) (the “Former Lead Case”).

          2.       Responses, if any, to the Application were required to have been filed with the

Court on or before January 31, 2023 (the “Response Deadline”). On that same date, the Court

entered the Final Decree Closing Certain of the Chapter 11 Cases [Docket No. 698] (the “Final

Decree”) in the Former Lead Case, which, inter alia, closed the Former Lead Case and directed



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that further actions with respect to, inter alia, fee applications be filed in Case No. 22-90129 (MI)

(the “Remaining Case”).

       3.       The Response Deadline has passed and no responsive pleading to the Application

has appeared on the Court’s docket in the above-captioned chapter 11 cases, including the Former

Lead Case or the Remaining Case, or was served upon the undersigned counsel. Accordingly, the

undersigned respectfully requests that the form of Order granting the Application attached hereto

be entered at the earliest convenience of the Court. The attached form of Order has been non-

substantively modified from the form attached to the Application to reflect its filing in the

Remaining Case due to the entry of the Final Decree.


 Dated: February 1, 2023                   /s/ Michael D. Warner
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                                           – and –

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                                           Counsel for the Official Committee of Unsecured
                                           Creditors


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of February, 2023, a true and correct copy of the above
and foregoing has been served by electronic transmission to all registered CM/ECF users appearing
in these cases.

                                                       /s/ Michael D. Warner
                                                       Michael D. Warner




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